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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                Plaintiff,                   )
                                             )   No. 14 CR 424
             vs.                             )   Hon. Robert M. Dow, Jr.
                                             )
JINHUANG ZHENG, et al.,                      )
                                             )
              Defendant.                     )

 DEFENDANT ZHENG’S MOTION FOR JUDGMENT OF ACQUITTAL, OR
             ALTERNATIVELY FOR A NEW TRIAL

      Now comes the defendant, Jinhuang Zheng, by and through his undersigned

attorney, pursuant to Federal Rules of Criminal Procedure 29 and 33, and

respectfully moves this Honorable Court to enter an order granting a judgement of

acquittal, or alternatively for a new trial. In support thereof, Zheng offers the

following:

 I.   INTRODUCTION

      Zheng was charged, along with co-defendant Mingrui Sun and four other co-

defendants in a two count indictment alleging their participating in a conspiracy to

commit extortion, and the use of extortionate means to collect an extension of credit,

in violation of 18 U.S.C. 894(a)(1). Essentially, Zheng was charged with conspiring

to collect a debt from a former customer, and ultimately, using force in an attempt

to collect the debt, all with the help of his co-defendants. The indictment set out an

alleged set of events that had occurred on or about May 2014 through on or about

June 2014 in which Zheng, through his friend and co-defendant Shen Quan Dong
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recruited several other individuals to travel to Hibachi Grill in order to help recover

approximately $40,000 that was owned to Zheng by the restaurants owner. It was

the government position that it was Zheng’s intention to threaten and intimidate

the restaurant’s owner into paying back the money that he was legitimately owed.

      Zheng’s trial was conducted before this Court from April 30, 2016 through

May 8, 2018. Throughout the government’s case-in-chief, the government presented

testimony from the alleged victim and his wife, a cooperating co-defendant, and the

lead investigating agents, among others. At the close of the government’s case,

Zheng orally moved this Court for a judgement of acquittal on all counts pursuant

to Federal Rule of Evidence 29(a), arguing that the government had failed to

present sufficient evidence to allow a reasonable, rational jury to convict Zheng

beyond a reasonable doubt. This motion is still under advisement.

      After several hours of deliberation, the jury returned their verdict, finding

Zheng guilty of both counts of the indictment. Following the verdict, this Court

entered judgment on the finding of guilty. Defense counsel then asked the court,

and this Court graciously granted, an extension of time for the filing of these post-

trial motions until July 9, 2018. Now, Zheng renews his motion for a judgement of

acquittal pursuant to Rule 29 because the evidence atrial was insufficient to sustain

the guilty verdicts returned against Zheng on both counts of the indictment.

Alternatively, Zheng respectfully requests a new trial. With regard to each of the

arguments presented, Zheng incorporates herein, all arguments made in open court,




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at sidebar, and that were the subject of any motions or memoranda filed in this

case.

II.     ZHENG IS ENTITLED TO A JUDGEMENT OF ACQUITTAL

        Pursuant to Rule 29 of the Federal Rules of Criminal Procedure, Zheng

respectfully moves for a judgement of acquittal.

           a. Legal Standard

        Rule 29 of the Federal Rules of Criminal Procedure instructs courts, that

upon a defendant’s motion, they “must enter a judgment of acquittal of any offense

for which the evidence is insufficient to sustain a conviction.” Fed.R.Crim.P. 29; see

also United States v. Mohamed, 759 F.3d 978, 803 (7th Cir. 2014). Entry of a

judgment of acquittal is appropriate when, considering the evidence in the light

most favorable to the government, no rational jury “could have found the existence

of each element of the crime beyond a reasonable doubt.” United States v. Kitchen,

57 F.3d 516, 529 (7th Cir. 1995); see also Jackson v. Virginia, 443 U.S. 307, 319

(1979); United States v. Peters, 277 F.3d 963, 967 (7th Cir. 2002); United States v.

Rivera, 273 F.3d 751, 755 (7th Cir.2001). Judgment of acquittal must, therefore, be

entered where the government failed to prove even one element of the crime

charged beyond a reasonable doubt. Kitchen, 57 F.3d at 523 (reversing conviction

where government failed to prove element of crime).

        Further, the jury’s decision may not be based on impermissible inferences

and mere speculation. Mohamed, 759 F.3d at 810; see also United States v.

Sanchez, 615 F.3d 836, 845 (7th Cir. 2010) (jury verdict overturned where jury



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verdict rested solely on the “piling of inferences upon inferences.”). There must be a

distinguished line between reasonable inferences and speculation; the government’s

case cannot be based on “conjecture camouflaged as evidence.” Piaskowski v. Bett,

256 F.3d 687, 693 (7th Cir. 2001).   When “the record is devoid of evidence pointing

to guilt,” or “evidence on a key element” is “so tenuous that a conviction would be

shocking,” a judgment of acquittal is required. United States v. Meadows, 91 F.3d

851, 855 (7th Cir. 1996) (internal quotations omitted).

         b. Argument

      For the government to convict Zheng, they were required to prove (1) that

there was an attempt to collect an extension of credit including attempting to

induce in any way the repayment by anyone of a loan or other thing of value for

which repayment was expected, whether valid or invalid, whether disputed or

acknowledge; or (2) that the attempt to collect involved the use of extortionate

means, that is, the use of violence or other criminal means to cause harm to the

person or property of anyone; and (3) the defendant knowingly participate in some

way in the use of such extortionate means in that attempted collection or

punishment. Additionally, the government was required to prove that a conspiracy

to engage in such conducted existed and that Zheng knowingly became a member of

that conspiracy. Importantly, Zheng would have only done something knowingly if

he was aware of the nature of his conduct and did not act through some sort of

ignorance, mistake, or accident.




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      Most of the facts surrounding the events leading up to Zheng’s indictment are

undisputed. Zheng, through his company Ocean Fresh Seafood, was owed

approximately $40,000 by Kobe Buffet, which was owned in part by Ronald Lin. On

June 1, 2014, Zheng showed up at Hibachi Grill, Lin’s new place of employment, in

an effort to discuss the outstanding debt owed to Ocean Fresh. That day Zheng

arrived at Hibachi Grill with four other individuals. After moving the conversation

to the outside of the restaurant, Lin was beaten by the four individuals for a matter

was seconds. However, as will be discussed below, the government failed to prove

beyond a reasonable doubt that the purpose behind Zheng driving to Hibachi Grill

was to use extortionate means to collect the money. Instead, what the evidence

showed was that Zheng merely contacted one friend, Shen Quan Dong, to go to

Hibachi Grill with him because Zheng believed it would be dangerous for him to go

there by himself. What the evidence showed was that it was Dong who recruited

other individuals to make the trip with him and Zheng – without Zheng’s input. It

was never Zheng’s intention to threaten, intimidate, or harm Lin and, in order for

the government to succeed in their case against him, this is exactly what they had

to prove, both for the conspiracy charge and the over act of attempting to collect an

extension of credit through the use of extortionate means. And in a case, such as

this, where the evidence presentence by the government was “equally consistent

with a theory of innocence as a theory of guilt,” it “necessarily fails to establish guilt

beyond a reasonable doubt.” United States v. Harris, 942 F.2d 1125, 1129-30 (7th

Cir. 1991).



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      Throughout trial it was established, and is undisputed, that Zheng was a

part owner of Ocean Fresh. Ocean Fresh was a frozen seafood distributor that

worked with various restaurants in the Midwest, and in particular, the Chicagoland

area. As part of their business, Ocean Fresh would often give restaurants their

seafood order on credit, if they had established a reliable, trusted business

relationship with one another. One of those restaurants was Kobe Buffet, which

had two Chicagoland locations; one in Naperville and one in Lombard. Lin was a

part owner in Kobe Buffet, but when those restaurants began to fail, he started to

work at Hibachi Grill in Aurora. Over the course of 2013, Kobe Buffet racked up

approximately a $40,000 debt with Ocean Fresh. Ocean Fresh tried to collect on

this debt on a number of occasions to no avail. Zheng decided to confront Lin about

this debt in person. When he did so on June 1, 2014, several of the individuals what

came with Zheng physically battered Lin outside of Hibachi Grill. The main issue

in the case, as it related to Zheng, was whether he went to Hibachi Grill that day

with the four other individuals with the specific purpose of extorting Lin into

repaying the debt. It was essentially the government’s theory that Zheng brought

the four individuals with him in order to scare Lin into paying the money owed to

Ocean Fresh.

      The evidence presented by the government against Zheng was, essentially,

threefold. First, the government presented surveillance footage of the physical

assault that occurred on June 1, 2014 against Lin. Second, the government

presented evidence showing that Ocean Fresh was owed money by Kobe Buffet, that



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Zheng was an owner of Ocean Fresh, and that Zheng believed Lin to be associated

with Kobe Buffet. Finally, the government presented the testimony of Dong as

direct evidence of Zheng requesting Dong to find “friends” to go with them to

Aurora, Zheng offering 50% of whatever was collected as payment for their help,

and his intent of using extortionate means in an effort to collect on the debt. But as

this Court was clearly able to see throughout the course of trial, the evidence

adduced by the government through Dong – their star witness – was anything but

reliable. Certainly not reliable enough to surmount the beyond-a-reasonable doubt

standard they are required to meet. Taken together, it was clear that the evidence

against Zheng was such that no reasonable jury would conclude beyond a

reasonable doubt that Zheng knowingly and intentionally participated in a

conspiracy to use extortionate means to collect on an extension of credit as charged

in the indictment.

      For the government to succeed, the testimony of Dong had to be credible, but

it was obvious that his testimony was anything but that. Dong’s testimony at trial

was littered with impeached statements, forgotten facts, and flat-out lies. This was

not exclusive to just the cross-examination portion of his testimony, but the

government’s own direct examination. It was truly uncomfortable watching him

testify throughout the seemingly never-ending day-and-a-half of testimony. At one

point during his testimony – at sidebar – this Court even proclaimed “[o]kay. The

witness is killing me. . .There’s two possibilities here. Either he’s not telling the

truth about what he said or the agent inaccurately wrote what he said. . .But you



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will be able to impeach him, essentially, through [the agent].” See Transcript, May

2, 2018 (Tr.), pgs. 19-20 (morning portion of proceedings). Considering this was the

sole witness presented by the government with any direct knowledge of any and all

conversations leading up to, and following, the June 1, 2014 incident, the

government’s case had to rise or fall with Dong.

      When an individual is so incredible that no reasonable person could possibly

believe him, and no other evidence is more indicative of guilt than innocence, then a

Court must enter a judgment of acquittal on behalf of the defendant. United States

v. Garner, 581 F.2d 481, 485 (5th Cir. 1978); United States v. Rivera, 775 F.2d 1559,

1561 (11th Cir. 1985); United States v. Harris, 942 F.2d 1125, 1129-30 (7th Cir.

1991). The defense, during its closing argument presented a myriad of statements

made by Dong that were obviously and categorically false. The defense pointed out

the incredible incentive to lie under which Dong testified in the case. The defense

maintains that these inconsistencies, combined with Dong’s motivations are

sufficient, by themselves, to render Dong’s testimony so incredible that no

reasonable person could trust his word – beyond a reasonable doubt or otherwise.

Aside from the countless of inconsistencies of his statements, Dong lied at every

portion of his testimony. Even from the outset of cross-examination, Dong was

asked whether he remembered speaking with federal agents throughout the course

of their investigations and was directly asked if he always told agents the truth. To

this inquiry, Dong categorically answered “yes.” See Tr. at pg. 4. Clearly, this

cannot be true considering various statements were used to show that Dong gave



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the investigating agents conflicting accounts of what happened. Coupling this, with

all of the other lies, conflicting statements, and inconsistencies in his statements,

which even this Court recognized, see supra, the only possible conclusion is that

Dong is a habitual liar who cannot be believed. When a witness gives testimony

that cannot possibly be believed, that witness’s testimony must be set aside.

      Without crediting the word of Dong, the government lacks sufficient evidence

to convict Zheng. Each piece of evidence that could in any way hint at Zheng’s

knowledge or intent of the charged offenses was entirely dependent upon the

testimony of Dong. Without Dong, each piece of evidence is equally consistent with

a theory of innocent as it is with a theory of guilt. The forensic evidence in the case

showed that Zheng never once spoke on the phone with any of the other alleged co-

conspirators in the case neither before, on the day of, or after the incident in

questions. His only communication was with Dong. It was Dong that recruited the

other individuals to travel to Aurora with him and Zheng based on his own,

independent of Zheng, motivations.

      Much of Dong’s testimony, both on direct and cross, focused on when and why

Zheng contacted him regarding his upcoming trip to Aurora. Dong attempted to

testify that Zheng called him on three separate occasions prior to June 1 asking him

to find people to go with them on the trip. However, through cross, it was proven

that Dong’s recollection to the jury regarding these calls was completely fabricated.

Even the government, who had all of his phone records for the months in questions,

failed to show even a single phone record that corroborated Dong’s version of what



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had occurred. And it was pivotal for the government’s theory that those calls had

actually occurred because it is what placed Zheng into a conspiracy. Dong was also

unable to provide a realistic scenario in which Zheng offered any sort of payment for

Dong’s and his friends’ help in collecting the debt. Rather, Dong admitted that

Zheng had told him he believed that Lin was dangerous both through his reputation

and his father’s connection to a certain faction of a Chinese mafia. Dong further

admitted that none of the individuals discussed using any sort of physical violence,

that Zheng was merely attempting to speak with Lin outside of the restaurant, and

that once the fighting began, Zheng did not engage with the other. That was the

government’s case.

      The crux of the allegations against Zheng was his motivation in traveling to

Aurora with four individuals. Dong failed to give any credible insight into what

intended, other than to bring a friend for protection -because that was the truth.

The government had to ability to present the testimony of at least one other

cooperating co-conspirator, which they chose not to do. What was clear, however, is

that the same cooperating witness was working as a government informant at the

time of the alleged incident, presumably with his own motivations at the time. In a

case where it was undisputed that there was an extension of credit and the use of

violence, it was extremely important for the government to prove Zheng’s

knowledge and intentions surrounding the alleged incident. In using Dong as the

sole source for this, they inevitably must fail in meeting their burden.




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       In this case, the government failed to meet their burden of proof. Dong was

so untrustworthy that no reasonable person could believe him and his testimony

must be categorically disregarded. Without him, the government’s case cannot be

maintained. While the government may have proven that Zheng traveled to

Hibachi Grill to attempt to collect on an extension of credit, the government failed

to show that he did so with the intention to engage in extortionate means or his

knowledge of what the other individuals believed their duty was as it related to the

reason for them going to Aurora with him. The only evidence offered by the

government to impart this requisite knowledge and intention upon Zheng, was

through Dong, who provided a story that was inconsistence with other evidence, and

more so, a lie. His uncorroborated recollection of events failed to shed any reliable

light on the nuances of what occurred leading up to June 1, 2014, which were

crucial for the government to sustain convictions on both counts of the indictment.

Even this Court recognized during Dong’s testimony that he was lying at nearly

every opportunity. As such, this Court must enter a judgment of acquittal as to

both Counts One and Two.

III.   ALTERNATIVELY, ZHENG IS ENTITLED TO A NEW TRIAL

       Pursuant to Rule 33 of the Federal Rules of Criminal Procedure, Zheng

respectfully moves for a new trial.

          a. Legal Standard

       A court may grant a new trial “if the interest of justice so requires.”

Fed.R.Crim.P.33(a). In considering a motion for new trial, this Court “must



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consider the weight of the evidence, and must grant a new trial if that evidence

‘preponderates heavily against the verdict, such that it would be a miscarriage of

justice to let the verdict stand.’” United States v. Washington, 184 F.3d 653, 657-58

(7th Cir. 1999); quoting United States v. Reed, 875 F.2d 107, 113 (7th Cir. 1989); see

also United States v. Morales, 910 F.2d 467 (7th Cir. 1990) (“If the complete record .

. . leaves a strong doubt as to the defendant’s guilt, even though not so strong a

doubt as to require a judgment of acquittal, the district judge may be obligated to

grant a new trial.”), modified, 902 F.2d 604 (7th Cir. 1990). In granting a new trial,

this Court is afforded wide discretion. United States v. Inglese, 282 F.3d 528, 538

(7th Cir. 2002) (district court’s decision on prejudice is afforded “great deference”).

          b. Argument

       To forego repetitiveness, Zheng reincorporates and re-alleges the facts and

arguments put forth above in his motion for a judgement of acquittal. These facts

and arguments demonstrate, without a doubt, that the jury’s verdict was contrary

to the weight of the evidence. Essentially, the government’s case rested on one

material witness, Dong, who had such insurmountable credibility issues, that it

should weigh heavily in this Court’s decision to order a new trial. See United States

v. Simms, 508 F.Supp. 1188, 1207 (W.D. La. 1980) (“The government’s case depends

upon inferences upon inferences dawn from uncorroborated testimony that . . . is

subject to questions of credibility”).

       In addition, Zheng respectfully submits the below-stated points, along with

all motions and objections made before, during, and after the trial, that warrant a



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new trial, including a cumulative error argument. These errors, individually and

cumulatively, coupled with the lack of substantial evidence, jeopardized Zheng’s

rights, and require a new trial.

                 i. Government’s Failure to Perfect Prove Up Assertion That
                    Zheng Confessed

      The government improperly, and irreparably, compromised Zheng’s right to a

fair trial when during their cross-examination of him they alleged that he had made

admissions to one of his alleged co-conspirators, Daniel Zhu, during a conversation

that supposedly happened while Zheng was in custody following his arrest. In an

attempt to establish that Zheng’s testimony was incredible, the government

engaged in a series of questions that in essence asserted that Zheng and Zhu had a

conversation – while in custody – that suggested he had made an admission to his

conduct. The line of questioning asserted to the jury that during their conversation

Zheng advised Zhu that he intended on getting bond and subsequently asking the

alleged victim, Lin, not the pursue the case against him. It was further alleged that

Zheng indicated that a friend of his was going to contact the victim and ask him to

change his story. The defense immediately objected to this line of questioning and

called for a mistrial – which this Court denied. Although Zheng denied have any of

these conversations, the government never put on Zhu as a witness to prove up the

statement. In fact, it was never their intention to call Zhu as a witness, even

though he was cooperating, because of his incurable credibility issues. As a result,

the jury was left the belief that the government must have known something they

(the jury) did not regarding these admissions.

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      The right to a fair trial includes the right a verdict based solely on the

evidence actually introduced at trial. Turner v. Louisiana, 379 U.S. 466, 472-73

(1965); see also Jordan v. Hepp, 831 F.3d 837, 846 (7th Cir. 2016) (“a prosecutor

may not urge a jury to base its decision on information known to the prosecutor but

not presented at trial”). This requirement “goes to the fundamental integrity of all

that is embraced in the constitutional concept or trial by jury.” Turner, 379 U.S. at

472. Thus, it was wholly improper for the government to ask Zheng questions that

presumed facts not in evidence unless the government later substantiates those

facts. As an example, if a part attempts to impeach a witness with a prior

inconsistent statement and the witness denies ever having made that statement, or

otherwise equivocates, then it would no doubt incumbent upon the examining party

to offer evidence of the statement. See, e.g. Fed R. Evid. 613.

      The cross-examination of Zheng clearly indicated that the government

believed it had credible information that Zheng has made this post arrest

statements to an individual that unbeknownst to him was cooperating with the

government, again. Thus, it was incumbent on the government to present evidence

of Zheng’s alleged conversation – which the government never did. Further, this

error did not go unnoticed by the parties: after the government began its line of

questioning, the defense raised an objection to the State’s failure to perfect the

prove-up the allegations on this point, but was overruled by this Court.

      Under the circumstances of the trial, the government’s error substantially

prejudiced Zheng by magnifying an unproven allegation about Zheng’s statement to



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Zhu which essentially are tantamount to a confession. A reasonable juror might

remember the substance of Zheng’s testimony but remain uncertain as to what

exactly was said on what occasions. It is therefore reasonable that such a juror

might therefore be influenced by the government’s forceful and contradicted

assertion that Zheng made admissions to Zhu while in custody.

      The government’s case against Zheng was not strong. They presented only

one witness who impeded any sort of knowledge or intent upon Zheng – his alleged

co-conspirator Dong – who credibility was attacked multiple times on multiple

grounds. See supra. Dong’s incredible testimony was contradicted by that of Zheng.

In light of this conflicting evidence, as well as the paramount credibility issues

regarding the government’s key witness, it would not have been irrational for a jury

to conclude that the government failed to prove Zheng’s knowledge and intent in

using extortionate means to collect an extension of credit. For those reasons, there

is a substantial probability that the government’s reliance on the alleged-but-

unproven statements influenced the jury’s guilty verdict.

                ii. Evidence Regarding Severity of Injuries Was Irrelevant
                    and Unduly Prejudicial

      The Court erred by denying Zheng’s motion to limit the amount of evidence at

trial regarding the severity of Lin’s injuries. In an indictment charging Zheng with

a conspiracy to knowingly participate in the use of extortionate means to collect and

attempt to collect an extension of credit and knowingly participating in the use of

extortionate means to collect and attempt to collect an extension of credit, the

extent of the victim’s injuries is completely irrelevant. However, this Court allowed

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the government to present the jury with nearly twenty photographs depicting all

angles and close-up of scratches, cuts, bruises, and the like, on the alleged victim.

Although threat of force or use of force should undoubtedly be proven by the

government at trial, the extent of that force bares no relevance to the charges.

Instead, it is merely a tool to help further enflame the jury against Zheng.

      A proposition is only considered relevant if it is logically related – directly or

indirectly – with at least one of the formal elements of the charges made or defensed

raised in a case. Fed.R.Evid. 401, 402; United States v. Malpeso, 115 F.3d 155, 163-

64 (2d. Cir. 1997). When a proposition of fact is not required to prove a substantive

element of the applicable law, it is irrelevant and inadmissible. See United States v.

Klebig, 600 F.3d 700, 710-11 (7th Cir. 2009) (conviction reversed due to the

admission of evidence irrelevant to the charges at issue); United States v. Pitt-Des

Moines, Inc., 970 F.Supp. 1359, 1366-67 (N.D. Ill. 1997) (holding that evidence

irrelevant to the charge in the indictment was inadmissible). Considering that the

extent of injuries is not an element of conspiracy or the use of extortionate means,

there is no reason more than one or two, if any, of the photographs should have

been admitted.

      What is more, the evidence should have been excluded for its unduly

prejudice under Rules 401-403 of the Federal Rules of Evidence. See Old Chief v.

United States, 519 U.S. 172 (1997). In a trial that was essentially shoe-stringed to

the testimony of the incredible testimony of Dong, any evidence that was irrelevant

or prejudicial should have been excluded as it unfairly tipped the scales in favor of



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the government. The fear in allow the government to present such evidence and

testimony is that it may create a warrantless, genuine risk that the emotions of the

jury will be “excited to irrational behavior.” United States v. Loughry, 660 F.3d 965,

971 (7th Cir. 2011). And that is exactly what happened here. It is not unreasonable

that in a case, such as there, were the evidence of guilty is equal to if not less than

that of innocence, the government should not be allowed to simply inflame emotions

in the jury, causing them to base their decision on emotional factors, rather than

any logical connection between the evidence and the elements that must be proven

by the government.

       The government already had enough evidence in the form of surveillance

video footage which depicted the alleged victim being physically assaulted outside of

the Hibachi Grill. There is no reason that the government needed to bootstap this

evidence to that of the injuries in order meeting their burden as it related to that

threat of force element of the statute. The photographic evidence of the injuries

must therefore have been either completely eliminated or significantly limited prior

to trial.

               iii. Severance from Co-Defendant Sun

       This Court erred in denying Zheng’s motion to sever his trial from that of his

co-defendant, Mingrui Sun. The Zheng and Sun should have been severed pursuant

to both Rule 14 of the Federal Rules of Criminal Procedure and the Sixth

Amendment to the United States Constitution.




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      Rule 14 permits a trial court to sever properly joined defendants where it

appears that either the defendant or the government will be prejudiced by the

joinder. Fed. R. Crim. P. 14; Zafiro v. United States, 506 U.S. 534, 535, 538 (1993);

United States v. Lane, 474 U.S. 438, 447 (1986). The defendant must demonstrate

actual prejudice by establishing that absent the granting of a severance emotion, he

will be unable to obtain a fair trial. United States v. Stokes, 211 F.3d 1039, 1042

(7th Cir. 2000). To meet this burden, the defendant must show that there is a

serious risk that a joint trial would compromise a specific trial right or prevent the

jury from making a reliable judgment as to guilt or innocence. Zafiro, 506 U.S. at

539. To that extent, the Seventh Circuit has recognized several circumstances in

which actual prejudice warrants severance: (1) conflicting and irreconcilable

difference, (2) a massive and complex amount of evidence that makes it almost

impossible for the jury to separate evidence as to each defendant, (3) a

codefendant’s statement that incriminates the defendant, and (4) a gross disparity

of evidence between the defendant. United States v. Clark, 989 F.2d 1490, 1499

(7th Cir. 1993).

      Aside from the reasons previously mentioned in Zheng’s original submission

for severance and his reply – which he respectfully incorporates into the instant

motion – it should be noted that at least one of co-defendant Sun’s post-arrest

statements was testified to by the investigating agent during his direct

examination. In the government’s response to Zheng’s motion for severance they

indicated that they would not adduce at trial any of Sun’s pretrial statement.



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Instead, the agent testified that during an alleged conversation in Zheng’s vehicle

prior to the incident – while discussion the alleged payment for the extortion – Sun

indicated what language the individuals were speaking. Although it may seem

insignificant on its face, it allowed to government to further strengthen their case.

It essentially bolstered the government’s contention that such a conversation

actually occurred, which was disputed by the defense throughout trial.

       The fact that the jury had a split verdict between the defendants further

illuminates the prejudice faced by Zheng. While it was Zheng’s defense that there

was no plan for extortion, Sun did not dispute the existence of the conspiracy to

commit such and instead focused on his limited knowledge as to why he was there

in the first place. And although joint trials are favored, the Seventh Circuit has

recognized that separate trials are appropriate when “the defenses are so

inconsistent that the making of a defense by one party will lead to an unjustifiable

inference of another’s guilt,” or when “the acceptance of a defense precludes

acquittal of other defendants.” United States v. Buljubasic, 808 F.2d 1260, 1263

(7th Cir. 1987). In effect, since the jury accepts Sun’s defense it prejudiced Zheng.

As such, Zheng and Sun’s trial should have been severed in order to ensure Zheng’s

ability to preserve his right to a fair trial.

                iv. Jury Instructions

       The Court erred in giving government-proposed instructions to which Zheng

offered objections and in refusing certain jury instructions proposed by Zheng. The




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grounds for these objections were stated in court during the jury instruction

conference and are, herein, incorporated by reference.

                v. Cumulative Error

      Considering, individually, each and every issue discussed throughout this

motion warrants a new trial. Further, when taken together with the motions and

objections made throughout the court of trial, the limited evidence presented by the

government to support the jury’s verdict require a new trial in the interest of

justice. See Fed.R.Crim.P 33. These trial errors, while “in isolation” may be

harmless, “when aggregated, alter the course of a trial so as to violate a petitioner’s

right to due process of law.” Alvarez, v. Boyd, 225 F.3d 820, 824 (7th Cir. 2000);

citing Taylor v. Kentucky, 436 U.S. 478, 487 n. 15 (1978). “To prevent the

synergistic effect of these errors from escaping review, courts attempt to determine

whether the whole is greater than the sum of its parts. The cumulative effect

analysis requires a petitioner to establish two elements: (1) at least two errors were

committed in the course of the trial; (2) considered together, along with the entire

record, the multiple errors so infected the jury’s deliberation that they denied the

petitioners a fundamentally fair trial.” Alvarez, 225 F.3d at 824 (internal citations

omitted).

      The lack of evidence presented by the government against Zheng, couple with

the issues described in this motion shows that the jury most likely convicted Zheng

improperly. The jury heard and saw extensive improper and prejudicial evidence

regarding injuries sustained by the alleged victim and alleged statements made by



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Zheng while in custody pending trial with no corroboration. This coupled with the

only material witness with immense credibility issues creates the warranted need

for a new trial. Even if these errors individually are insufficient to warrant a new

trial, taken together with the motions and objections made during trial necessitate

a new trial. As the Seventh circuit reasoned in Morales, “if the prosecution’s theory

and the alternative theory were equiprobable or close to it, [the defendant] would

have to be acquitted.” 902 F.2d at 608 (ordering new trial where competing

evidence at trial did no “permit a confident conclusion” of defendant’s guilt),

modified by, 910 F.2d 467. Where, as here, “the complete record . . . leaves a strong

doubt as to the defendant’s guilt, even though not so strong a doubt as to require a

judgment of acquittal,” a new trial is appropriate to promote the interests of justice.

Morales, 910 F.2d 467.

                                     Conclusion

      The evidence presented by the government throughout the course of a six-day

jury trial was insufficient to allow a reasonable jury to conclude beyond a

reasonable doubt that Zheng knowingly and intentionally participated in a

conspiracy to collect an extension of credit through the use of extortionate means

and the overt act of extortion itself. Following the trial, the jury was left with scant

and questionable evidence supporting the government’s case, causing them to

convict Zheng on unreasonable inferences and speculation. Ultimately, this Court

should not let the jury “guess” and “assume” Zheng “into the penitentiary.” United

States v. Martellano, 676 F.2d 940, 946 (7th Cir. 1982). For the foregoing reasons,



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Zheng respectfully requests this Honorable Court to enter a judgement of acquittal,

or in the alternative, order a new trial.

                                                 Respectfully submitted,

                                                 s/ Vadim A. Glozman______
                                                 An Attorney for the Defendant

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                           CERTIFICATE OF SERVICE

      I, Vadim A. Glozman, an attorney for Defendant Jinhuang Zheng, hereby

certify that on this, the 9th day of July, 2018, I filed the above-described document

on the CM-ECF system of the United States District Court for the Northern District

of Illinois, which constitutes service of the same.

                                                Respectfully submitted,

                                                s/ Vadim A. Glozman____
                                                VADIM A. GLOZMAN




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